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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              NO. 10-204

KENNETH BOWEN                                                       SECTION "N" (1)
ROBERT GISEVIUS
ROBERT FAULCON
ANTHONY VILLAVASO
ARTHUR KAUFMAN
GERARD DUGUE

                                  ORDER AND REASONS

              Presently before the Court are several motions filed by one or more of the defendants.

Having carefully considered the parties’ submissions, IT IS ORDERED that:

              1.     Mr. Dugue’s Motion to Dismiss Counts 26-27 or, Alternatively, to Suppress

Statements (Rec. Doc. 133) is DENIED.

              2.     Mr. Dugue’s Motion to Sever the Trial of Counts 26-27 (Rec. Doc. 134) will

be considered together with any Bruton motions that are filed in accordance with the Court’s

November 9, 2010 Order (Rec. Doc. 129).

              3.     Mr. Dugue’s Motion to Dismiss Counts 11, 15 and 26 as Multiplicitous (Rec.

Doc. 135) is DENIED.



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              4.     Defendants’ Joint Motion to Dismiss Counts 11, 14-15,17, 22-24 and 26 for

Failure to Allege a Federal Crime (Rec. Doc. 136) is DENIED.

              New Orleans, Louisiana, this 14th day of December 2010.



                                                  ____________________________________
                                                         KURT D. ENGELHARDT
                                                        United States District Judge




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